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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 In re:                                                )
                                                       )
 DNC and TCPA LIST SANITIZER, LLC                      )        Case No. 24-12624-KHT
                                                       )        Chapter 11, Subchapter V
          Debtor.                                      )
                                                       )


OBJECTION TO CONFIRMATION AND REJECTION OF DEBTOR’S AMENDED PLAN
 OF REORGANIZATION DATED AUGUST 14, 2024 FOR SMALL BUSINESS UNDER
                    CHAPTER 11, SUBCHAPTER V


      Unsecured Creditor COHEN, LLC (“Cohen”) hereby objects to the confirmation of the

Debtor’s Amended Plan of Reorganization Filed on September 25, 2024, (the “Plan“) for Small

Business Under Chapter 11, Subchapter V (Docket No. 123, the “Original Plan” and Docket No.

173, the “Amended Plan”) and states as follows:


      1. COHEN, LLC is an unsecured creditor and has not to date received a ballot to vote on the

          Plan. Cohen hereby votes to reject the Plan and makes these objections to confirmation of

          the Plan.


      2. COHEN, LLC joins in the Objections to Confirmation already made by Ringba LLC, and

          the US Trustee. Further, Cohen states that the pre-petition equity holders of the Debtor

          continue under the Plan as equity holders of the reorganized debtor, received and continue

          to receive a substantial benefit through the filing of the case and pursuing confirmation of

          the Plan.


      3. The bankruptcy case and the Plan work as an inappropriate appeal bond that this Court in

          the past held to be improper. In Re Michael J. Roberts, Case no. 22-10521-JGR (copy

          attached). Hence, the plan has not been proposed in good faith. Furthermore, for this
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       improper benefit pre-petition equity has paid nothing and this violates the absolute

       priority rule. In Re Cleary Packaging, LLC, 657 BR 780, 798-807 (Bk.Ct. 2023).


    4. It should be noted that Cohen has only one claim in this case viz. Claim 9-1. Debtor’s

       counsel has repeatedly been informed that Claim 9-1 substitutes for and is a more specific

       statement of Claim 8-1. If there is any doubt it is stated that Claim 8-1 is withdrawn.


    WHEREFORE, confirmation of the amended plan should be denied.

    DATED this 2nd day of October, 2024



                                  [A Signature Page Follows]




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                                   COHEN, LLC.

                                   s/ Jeffrey Cohen
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                                    CERTIFICATE OF SERVICE

      I hereby certify that on October 2, 2024, I electronically filed the foregoing
 OBJECTION TO CONFIRMATION OF DEBTOR’S AMENDED PLAN OF
 REORGANIZATION DATED AUGUST 14, 2024 FOR SMALL BUSINESS UNDER
 CHAPTER 11, SUBCHAPTER V with the Clerk of Court using the CM/ECF system which will
send notification of such filing to the following e-mail addresses:

  John Cinimo, Esq.                                     Alan K. Motes, Esq.
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  U.S. Trustee                                          Joli A. Lofstedt, Esq.
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                                                  s/ Jeffrey Cohen
                                                  Jeffrey Cohen
